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                               IN THE UNITED STATES DISTRICT COURT

                                             DISTRICT OF IDAHO

EDMARK AUTO, INC., an Idaho corporation;
and CHALFANT CORP., an Idaho                            Case No.: 1:15-cv-00520-EJL-CWD
corporation,
                                                        DEFENDANTS’ SUPPLEMENTAL
                               Plaintiffs,
                                                        PROPOSED ALTERNATIVE JURY
                                                        INSTRUCTION NOS. 47-48
vs.

ZURICH AMERICAN INSURANCE
COMPANY, a New York corporation; and
UNIVERSAL UNDERWRITERS SERVICE
CORPORATION, a Delaware corporation,

                  Defendants.
______________________________________

AND RELATED CROSS-ACTION


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DEFENDANTS’ SUPPLEMENTAL PROPOSED ALTERNATIVE JURY INSTRUCTION NOS. 47-48 - PAGE 1
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         Defendants Universal Underwriters Service Corporation (“Universal”) and Zurich

American Insurance Company (“ZAIC”), by and through their counsel of record, Parsons Behle

& Latimer, hereby submit the following Defendants’ Supplemental Proposed Alternative Jury

Instruction Nos. 47 through 48 for consideration by this Court for trial set to begin on June 7,

2019.

DATED this 31st day of May, 2019.

                                          PARSONS BEHLE & LATIMER




                                          Richard H. Greener; John R. Lund;
                                          Christopher C. Burke; Slade D. Sokol
                                          Attorneys for Defendants


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 31st day of May, 2019, I electronically filed the
foregoing Defendants’ Supplemental Proposed Alternative Jury Instruction Nos. 47 and 48
with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to
the following persons:

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                                            Richard H. Greener; John R. Lund;
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                DEFENDANTS’ ALTERNATIVE JURY INSTRUCTION NO. 47

         If you find for a Plaintiff on fraud or unjust enrichment, you may consider the remedy of

disgorgement of profits. This remedy may only be awarded against a party that is a “conscious

wrongdoer.” Conscious wrongdoing requires more than simple negligence or an ordinary breach

of contract. A “conscious wrongdoer” is a party that is enriched by its misconduct and who acts:

         1.        With knowledge of the underlying wrong to the Plaintiff; or

         2.        Despite a known risk that the conduct in question violates the rights of the

Plaintiff.

         If you find that a Defendant was a “conscious wrongdoer,” you must also determine the

amount of net profit, if any, that the Defendant received as a proximate cause of its conscious

wrongdoing. Profit includes any form of use, value, proceeds or consequential gains that is

identifiable and measurable and not unduly remote. Net profit is determined by deducting

expenses and claim payments from the Defendant’s gross revenue. Gross revenue is all of the

money the Defendant received due to its conscious wrongdoing. The Plaintiff has the burden of

proving by a preponderance of the evidence a reasonable approximation of the amount of the

Defendant’s net profit wrongfully gained as a result of conscious wrongdoing.

         It is for you to determine what net profit of a Defendant, if any, has been proved.

         Your award must be based upon evidence and not on speculation or guesswork.



RESTATEMENT OF LAW THIRD, Restitution and Unjust Enrichment, Section 51; Ninth Circuit
Instruction 5.1 (modified)




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                DEFENDANTS’ ALTERNATIVE JURY INSTRUCTION NO. 48

         Plaintiff is seeking an award of punitive damages against the corporate Defendant for the

actions of the corporate Defendant’s employees/agents. Punitive damages may only be awarded

against a corporate Defendant for the actions of its employees/agents if you find that

                   1. The agent/employee was the Defendant’s agent/employee; and

                   2. The directors or managing officers of the corporate Defendant participated in

                        the actions of the agent/employee; or

                   3. The directors or managing officers of the corporate Defendant authorized the

                        agent/employee’s actions; or

                   4. The directors or managing officers of the corporate Defendant ratified the

                        agent/employee’s actions.

         For purposes of this instruction, “ratification” takes place after the act has occurred, while

“authorization” must occur before the action arises.



Manning v. Twin Falls Clinic & Hosp., Inc., 122 Idaho 47 (1992); Openshaw v. Oregon Auto.
Ins. Co., 94 Idaho 335 (1971); RESTATEMENT (FIRST) OF TORTS § 909 (1939).




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